                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MISSOURI
                                   SOUTHERN DIVISION

MARK JEROME JOHNSON BLOUNT,                      )
                                                 )
                      Plaintiff,                 )
                                                 )
       v.                                        )       Case No. 6:23-cv-03106-MDH
                                                 )
UNITED STATES OF AMERICA,                        )
MERRICK GARLAND, Attorney General                )
of the United States, in his OFFICIAL and        )
INDIVIDUAL capacities; THE BUREAU                )
OF ALCOHOL, TOBACCO, FIREARMS                    )
AND EXPLOSIVES, an agency of the                 )
United States of America; and BERNARD            )
G. HANSEN, Special Agent in Charge of            )
the Bureau of Alcohol, Tobacco, Firearms         )
and Explosives, Kansas City Field Division,      )
in his OFFICIAL and INDIVIDUAL                   )
capacities,                                      )
                                                 )
                Defendants.                      )

  DEFENDANTS UNITED STATES OF AMERICA, THE BUREAU OF ALCOHOL,
    TOBACCO, FIREARMS AND EXPLOSIVES, MERRICK GARLAND IN HIS
OFFICIAL CAPACITY AND BERNARD G. HANSEN IN HIS OFFICIAL CAPACITY’S
  OPPOSITION TO PLAINTIFF’S MOTION FOR SERVICE OF PROCESS UPON
      DEFENDANT GARLAND IN HIS INDIVIDUAL CAPACITY BY MAIL

       On June 26, 2023, Plaintiff filed a motion seeking an order from this Court to permit

Plaintiff to serve process upon individual capacity defendant Merrick Garland by registered mail

pursuant to Mo. Rev. Stat. § 506.160(2). Mot., ECF No. 6. On July 11, 2023, this Court deferred

ruling on Plaintiff’s motion and ordered the defendants to address the same. ECF No. 8. Plaintiff’s




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motion for service by mail upon Merrick Garland and Bernard Hansen 1 in their respective

individual capacities should be denied as futile. 2

         Plaintiff’s Complaint seeks from this Court a declaratory judgment that the National

Firearms Act, the Gun Control Act of 1968, and the Firearms Owners’ Protection Act of 1986 are

unconstitutional in that said acts regulate and prohibit Plaintiff from keeping machine guns.

Further, Plaintiff seeks an order from this Court to enjoin the defendants from enforcing these

allegedly unconstitutional acts as they relate to Plaintiff and his desire to keep machineguns.

         Plaintiff’s claims for equitable relief sought in his Complaint are spread throughout 189

pages and 491 numbered paragraphs; and yet, there are absolutely no specific factual allegations

anywhere in his Complaint that identifies who did what to whom, a vital and necessary element to

state a plausible individual capacity claim. See Robbins v. Oklahoma, 519 F.3d 1242, 1249–50

(10th Cir. 2008) (In a case involving “a number of government actors sued in their individual

capacities[,]… it is particularly important… that the complaint make clear exactly who is alleged

to have done what to whom, to provide each individual with fair notice as to the basis of the claims

against him or her, as distinguished from collective allegations….”) (emphasis in original).

         Here, Plaintiff has failed to allege any personal involvement by Merrick Garland—or

Bernard Hansen for that matter—in any of the alleged claims that bear upon the declaratory and

injunctive relief sought.        Indeed, Merrick Garland and Bernard Hansen, in their respective


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  Although Plaintiff’s motion pertains solely to service upon Merrick Garland in his individual capacity, Plaintiff has
also sued and failed to properly serve Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) Special Agent
in Charge Bernard G. Hansen in his individual capacity. Thus, the arguments set forth in this response are equally
applicable to Plaintiff’s lack of proper service of process on Bernard Hansen in his individual capacity.

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  As neither Merrick Garland nor Bernard Hansen have been served in their respective individual capacities, the
undersigned has not been authorized to represent either defendant in their individual capacity. As such, the
undersigned files this motion on behalf of the United States of America, the Bureau of Alcohol, Tobacco, Firearms,
and Explosives, Merrick Garland—in his official capacity as Attorney General of the United States—and Bernard G.
Hansen—in his official capacity as Special Agent in Charge of the Bureau of Alcohol, Tobacco, Firearms, and
Explosives, Kansas City Field Division—(“federal defendants”) only.

                                                          2

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individual capacities, are identified only handful of times, and each time in reference to a purported

constitutional tort that has not occurred and has not been pled.   See Compl. ¶¶ 239, 249, 250.

       Moreover, to the extent that Plaintiff seeks to enjoin enforcement of the subject firearms

statutes as they relate to him, any such prospective enforcement can be accomplished only by those

acting officially for the Department of Justice and the ATF. See BEG Invs., LLC v. Alberti, 34 F.

Supp. 3d 68, 80 (D.D.C. 2014) (“Courts have concluded that ‘there is no basis for suing a

government official for declaratory and injunctive relief in his or her individual or personal

capacity.’” (quoting Hatfill v. Gonzales, 519 F.Supp.2d 13, 19 (D.D.C.2007))); Feit v. Ward, 886

F.2d 848, 858 (7th Cir. 1989); Cmty. Mental Health Servs. v. Mental Health & Recovery Bd.

Serving Belmont, Harrison & Monroe Ctys., 150 F. App'x 389, 401 (6th Cir. 2005). Merrick

Garland and Bernard Hansen in their individual capacities are powerless to alter the interpretation

and implementation of the subject firearms statutes and the ATF policies respecting the

enforcement thereof.

       Finally, this Court’s personal jurisdiction over the individual capacity defendants is

unnecessary for the proper disposition of Plaintiff’s claims. As stated in the federal defendants’

contemporaneously filed dispositive motion, Mot., ECF. No. 9, Suggestions in Supp., ECF No.

10, Plaintiff lacks standing to pursue his claims, and the Second Amendment does not grant him

the right to own a machinegun. Plaintiff’s motion for service by mail upon the individual capacity

defendants should be denied as futile.




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                                                  Respectfully submitted,

                                                  Teresa A. Moore
                                                  United States Attorney


                                         By:      /s/ Wyatt R. Nelson
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                                                  FIREARMS, AND EXPLOSIVES,
                                                  MERRICK GARLAND, in his official capacity,
                                                  and BERNARD G. HANSEN, in his official
                                                  capacity
                                                  Wyatt.Nelson@usdoj.gov



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of August 2023, a true and correct copy of the
foregoing document was filed with the Court using the Court’s CM/ECF system and was served
upon each attorney of record via ECF notification and/or via first class mail to the address indicated
below.

       Mark Jerome Johnson Blount
       664 N. Montego St.
       Nixa, MO 65714



                                                  /s/ Wyatt R. Nelson
                                                  ________________________________
                                                  Wyatt R. Nelson
                                                  Assistant United States Attorney




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